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                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT
                              NEW HAVEN DIVISION

 IN RE:                                         :       CHAPTER 13

          FRANKLYN G. HEUSSER                   :       CASE NO. 17-31672 AMN

                 DEBTOR                         :       FEBRUARY 2, 2018


                   TRUSTEE’S OBJECTION TO DEBTOR’S CLAIM
                               OF EXEMPTIONS

           Roberta Napolitano, Trustee, hereby objects to the above-named debtor’s claim
 for exemption with regard to the following:


          The debtor claims real estate located at 27 Wakelee Avenue in Ansonia, CT
          exempt pursuant to 11 U.S.C. § 522 (d)(1) in the amount of $1.00. This property
          is not the debtor’s residence and therefore does not meet the definition of
          exemptible property.


          Wherefore, the Trustee requests the debtor’s claim for exemption pursuant to 11
 U.S.C. § 522 (d)(1) as to his property located at 27 Wakelee Avenue in Ansonia, CT be
 disallowed.




                                                        Roberta Napolitano
                                                        Chapter 13 Standing Trustee

                                                        /s/Roberta Napolitano, Trustee
                                                        By Roberta Napolitano, Trustee
                                                        Federal Bar No.: tr08378
                                                        10 Columbus Blvd., 6th Floor
                                                        Hartford, Connecticut 06106
                                                        Tel: 860-278-9410, ext.110
                                                        Fax: 860-527-6185
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                      UNITED STATES BANKRUPTCY COURT
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          FRANKLYN G. HEUSSER                :       CASE NO. 17-31672 AMN

               DEBTOR                        :




                                         ORDER

 After proper notice and hearing, the Trustee’s objection to the Debtor’s claim of
 exemption as to a certain real estate located at 27 Wakelee Avenue in Ansonia, CT the
 Trustee’s Objection is hereby:


                                 GRANTED / DENIED
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                           DISTRICT OF CONNECTICUT
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          FRANKLYN G. HEUSSER                :       CASE NO. 17-31672 AMN

                 DEBTOR                      :       FEBRUARY 2, 2018


                             CERTIFICATION OF SERVICE

        I hereby certify that a copy of the attached Trustee’s Objection to the Debtor’s
 Claim of Exemption and proposed Order, was forwarded to the following by first class,
 postage prepaid mail, on the above date:

          Debtor:
          FRANKLYN G. HEUSSER
          27 PRINDLE AVENUE
          ANSONIA, CT 06401

          Debtor’s Counsel: via electronic notice
          NEIL CRANE, ESQ.
          neilcranecourt@neilcranelaw.com

          Office of the U. S. Trustee: BY ELECTRONIC NOTICE
          USTPRegion02.NH.ECF@USDOJ.GOV
 .

                                                     Roberta Napolitano
                                                     Chapter 13 Standing Trustee

                                                     /s/Roberta Napolitano, Trustee
                                                     By Roberta Napolitano, Trustee
                                                     Federal Bar No.: tr08378
                                                     10 Columbus Blvd., 6th Floor
                                                     Hartford, Connecticut 06106
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